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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                    Southern District of __________
                                                 __________              Texas

                  United States of America                        )
                             v.                                   )
                 Minsu Fang aka Fernando
                                                                  )      Case No. 5:24-MJ-773
                                                                  )
                                                                  )                                   Sealed
                                                                  )
                                                                  )
                                                                                      Public and unofficial staff access
                                                                                           to this instrument are
                          Defendant(s)                                                   prohibited by court order

                                                CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of           August 2023 thru October 2023       in the county of                Webb           in the
     Southern          District of      Texas and elsewhere   , the defendant(s) violated:

            Code Section                                                    Offense Description
21 USC 952/963                                 Conspiracy to import a Listed 1 Chemical
21USC 953/963                                  Conspiracy to export a Listed 1 Chemical
21 USC 959(b), 960, 963                        Conspiracy to Import a Listed 1 Chemical for manufacture of fentanyl
21 USC 841, 846                                Conspiracy to manufacture fentanyl




         This criminal complaint is based on these facts:
See Attachment A




         ✔ Continued on the attached sheet.
         u

                                                                                             /S/ Monique C. Bunch
                                                                                             Complainant’s signature

                                                                                  Monique C. Bunch, DEA Special Agent
                                                                                              Printed name and title

Submitted by reliable electronic means, sworn to, signature attested telephonically per Fed. R. Crim .P. 4.1:


Date:             06/18/2024
                                                                                                Judge’s signature

City and state:                          Laredo, Texas                         Diana Song Quiroga, U.S. Magistrate Judge
                                                                                              Printed name and title
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                                   Attachment A
         In August 2023, the Drug Enforcement Administration (DEA) Laredo District Office (DO) in
coordination with Homeland Security Investigations (HSI) Laredo began an investigation into the Minsu
FANG, aka Fernando drug trafficking organization (DTO). During the on-going investigation, agents have
determined the DTO is responsible for coordinating and distributing multi-ton quantities of fentanyl
precursors; specifically, 1-Boc-4-piperidone (List 1 Chemical) and (2-Bromoethyl) benzene (DEA Special
Surveillance List Chemical) throughout the U.S. with a final destination to Mexico. Through her training
and experience, your affiant is aware that 1-Boc-4-Piperidone is used in the manufacture of fentanyl, and
fentanyl related substances currently listed as Schedule I controlled substances in the United States. As a
result of the investigation, agents have determined that the FANG DTO packages and ships bulk chemicals,
commonly used in the manufacturing of fentanyl to the United States, specifically the Southern District of
Texas (SDTX). Once the chemical packages are received by co-conspirators in the SDTX, the packages are
transferred/shipped across the U.S.-Mexico Border to other co-conspirators. Your Affiant knows that DEA
List 1 chemicals, are chemicals used in manufacturing of a controlled substance in violation of subchapter
1 of the U.S. Controlled Substance Act (CSA) and are important to the manufacturing of the controlled
substance.
        On or about August 18, 2023, agents received intelligence of the seizure of ten United States Parcels
(UPS) brown cardboard boxes containing 1-boc-4-piperidone weighing approximately 250 kilograms in
New York, New York. Based on intelligence, agents determined that the shipping labels were altered to
display shipped from City of Industry, California; however, the packages originated from China destined
to Texas.

        On the same date, Laredo Agents received information that an additional UPS package was not
intercepted in New York and was enroute to Laredo, Texas.

         On August 23, 2023, agents coordinated with United Parcel Service (UPS), located in Laredo,
Texas, to intercept the additional UPS box containing approximately 25.5 kilograms of 1-boc-4-piperidone
destined to a residence in Laredo, Texas. On the same date, agents coordinated with UPS to place a call to
the intended recipient of the UPS box (hereinafter referred to as Co-Conspirator, CC-1). Prior to the call,
agents established surveillance at the UPS in Laredo where agents observed, CC-1 pick up the
aforementioned package and a traffic stop was initiated by local law enforcement. Subsequent to the traffic
stop, CC-1 provided agents consent to search their residence. Following the search of the residence, agents
located and seized three additional UPS boxes weighing 76.5 kilograms of 1-boc-4-piperidone.

        Following the seizure, from August 23, 2023 to October 2, 2023, agents seized a total weight of
approximately 2,500 kilograms of 1-boc-4-piperidone and (2-Bromethyl) benzene. Per CS debriefs, agents
have reviewed and determined that the seizures of the specific fentanyl precursors were shipped at the
direction of FANG from China and destined to Mexico by transiting through the United States; specifically,
the Southern District of Texas. Per CC-1, FANG instructed CC-1 to export the packages from Laredo to
Mexican cities within the interior of Mexico. Agents also seized a Microsoft Excel spreadsheet provided
by FANG to CC-1 which contained the names, addresses, telephone numbers and tracking numbers of the
packages that were destined to Mexico.
       The investigation to date, has determined that the contents of the packages were incorrectly labeled
and mis-manifested to conceal the actual contents. In addition, agents have reviewed the DEA database of
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authorized registrants and determined that neither FANG nor any of the recipients of the packages have
previously obtained authorization to import or export 1-boc-4-piperidone, a List I Chemical into the U.S.
        On September 8, 2023, CC-1 and FANG conducted a recorded WhatsApp conversation where CC-
1 informed FANG that one of the boxes fell and opened as the boxes were being loaded for transportation.
FANG asked CC-1, “is it the powder one?” CC-1 acknowledged and said that CC-1 was with CC-1’s
associate (hereinafter referred to as a DEA confidential source, CS) when a box opened up. The CS asked
“what was that?”. CC-1 stated to FANG that CC-1 told the associate (CS) that it was “cosmetics.” CC-1
told FANG that CC-1’s associate (CS) stated that it was not “cosmetics”, because CC-1’s associate (CS)
had previously worked with “it” before. CC-1 told FANG that the packages would be held until CC-1,
FANG and the CS could come to an agreement. CC-1 told FANG there are no issues as long as FANG
came to an agreement with CC-1 and CC-1’s associate (CS). Also, through recorded conversation, FANG
asked CC-1 if it is one of CC-1’s associates that works in “Customs?” FANG asked if CC-1’s associate
(CS) is scared? CC-1 told FANG “I sent you the number earlier.” FANG said he, FANG, would call CC-
1’s associate (CS) later to come to an agreement.
        On the same date, FANG called the CS via WhatsApp. During this consensually recorded
conversation, FANG inquired if the CS was in possession of the boxes (referring to the seized 2,500
kilograms of fentanyl precursors). This CS has never provided information proved to be false or inaccurate.
        On September 9, 2023, FANG and the CS conducted a WhatsApp conversation, in which the CS
discussed their interest in the purchase of fentanyl precursors from FANG. During the conversation, the CS
stated that the CS used to move (transport) the same “product” (1-boc-4-piperidone and 2-bromethyl
benzene) and the CS knows that these products are used to make “fenta” (Coded language for fentanyl).
FANG replied “You know very well.” The CS told FANG, “yes, it is a good product and they (CS and
FANG) would make money if they work together”
          On September 11, 2023, through WhatsApp communication between FANG and the CS, they
discussed the sale of the chemicals. During the communications, FANG advised that he (FANG) spoke to
the manufacturer and that they would be willing to sell the product (referencing fentanyl precursors) using
chemical companies to acquire the fentanyl precursors. Also, FANG agreed to ship, fentanyl precursors by
air for a shipping fee of approximately $12.00 United States dollars (USD) per kilogram and approximately
$6.00 USD per kilogram via sea cargo from China to the United States with a final destination to Mexico.
Moreover, FANG agreed to sell the fentanyl precursors at $62.00 per kilogram and would start off by
sending 100 kilograms to establish a fentanyl precursor smuggling route.
       On September 13, 2023, FANG sends CC-1 a WhatsApp text message. FANG says “Very Urgent”
followed by “they are going to kill me.” FANG further stated, “Seriously, yes, shipping labels please. Two
weeks have passed.”
       On September 15, 2023, FANG sent CC-1 another WhatsApp text message stating, “the clients are
extremely angry and they will kill them” (CC-1 and FANG).
        On September 21, 2023, FANG sent CC-1 an additional WhatsApp text message stating “right
now”, and “All Day I can’t work on other matters, only this problem of shipping labels, crossing and
reshipping, the clients wants to kill us too.” During the WhatsApp text, FANG advised that he (FANG) has
not slept due to so much pressure from his clients and that some of the clients are crazy.
       On the same date, the CS texted to FANG that the CS would be using the powder to make fentanyl
and added that the CS already had buyers. FANG asked the CS if there was already a request for it. The CS
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confirmed. FANG asked if it would be the same material, which the CS confirmed. The CS added that it
would be the same material, powders (1-boc-4-piperidone), to make fentanyl.
        Also, on September 21, 2023, there were multiple WhatsApp messages between the CS and FANG.
In the messages, FANG advised the CS that the price would be $62 US dollars per kilogram shipped to the
CS. FANG then asked the CS how many kilograms the CS wanted. FANG stated that as soon as the CS
sends a portion of the packages already on hand for FANG's clients; FANG would begin to send the CS'
order. FANG added that the companies (chemical) can send more if everything goes well.
          On the same date, the CS stated that the same material (packages/powder) that the CS has on hand
is the same material the CS needs. The CS then asked FANG for a bank account for payment deposit of the
packages that the CS already has on hand. CS stated that the CS will distribute to their clients first and then
start to distribute to FANG’s clients. FANG went on to mention that the clients have other packages in the
United States but those packages that CS has on hand have already been paid for. FANG advised the CS
not to worry and that they (FANG) can send CS packages. The CS advised FANG to send his bank
information so that the CS could clear the account and they (CS and FANG) could start to work together.
The CS stated that the packages that were on hand would be sent out to their appropriate clients but the CS
also needed to confirm that the CS would be able to obtain packages for their clients as well. The CS advised
FANG that the packages would be sent to the clients where it would be made into the final product and
triple the profits. The CS further indicated that once FANG would start sending more packages for the CS,
those new packages would begin to be distributed to FANG’s clients. FANG agreed and asked the CS if
the CS was able to pay now. The CS confirmed that he/she was ready to pay. FANG asked the CS how
much the CS could pay. The CS advised FANG they can pay 30, 40, 50, 60 thousand dollars; whatever
FANG requested. The CS stated that the CS wanted to open the line with FANG because from every
kilogram of that material, the CS was making a lot of money. FANG asked the CS if the CS knows how
much a kilogram was worth to which the CS replied; FANG had already sent the number to the CS earlier.
FANG stated that they should do it the following way; the CS crosses one portion of the packages and buys
the clients other portion of packages. FANG stated then he can send more packages after that and advised
that the CS cannot buy all the packages because he (FANG) will not be able to explain to his clients. The
CS stated that the CS understood, but needed to come to an agreement with FANG. The CS advised that if
ten packages are sent, the CS would keep at least three and the rest would be sent out to FANG’s clients.
FANG asked if the CS would be paying in dollars or pesos. The CS advised FANG the CS would need
FANG’s banking info. The CS stated whichever currency FANG wanted to use, just to make sure and
provide all information needed for a transaction. FANG once again asked if the CS would pay and the CS
confirmed.
        Also, on September 21, 2023, The CS further advised FANG that the CS wanted to work with
FANG. The CS stated that they need a good supplier because the CS is making up to $35,000 USD per
kilogram of fentanyl. FANG asked the CS if that was with the same materials the CS has on hand. The CS
confirmed and advised FANG, that is the reason the CS needed those packages. FANG advised the CS that
FANG could send the CS ten packages and the CS could pay for 20 packages. FANG would then send 20
packages in the next shipment to the CS in order to buy time, and asked the CS if that was ok. The CS
agreed.
        On the same date, following the conversation, FANG sent the CS FANG’s banking information to
include, FANG’s PayPal, Western Union and Bank of China account information.
